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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA,
                             TAMPA DIVISION


RANELL K. GROSSMAN,                                   Case No. : : -cv-
Plaintiff,
v.
AIR METHODS CORP.,
Defendant.
__________________________________/


             PLAINTIFF RANELL K. GROSSMAN’S COMPLAINT
      Plaintiff, Ranell K. Grossman, by and through her undersigned counsel, files

this, her complaint against Defendant, Air Methods Corp., (hereinafter, "Defendant"),

an employer as defined in the state of Florida, and states as follows in support thereof:


                            NATURE OF THE ACTION
      1. This is a proceeding for damages and injunctive relief to redress the

deprivation of rights secured to Plaintiff by the Civil Rights Act of 1964 42 U.S.C.

2000e et seq. with regard to her gender and the ADA Amendments Act of 2008 42

U.S.C. ch. 126 § 12101 et seq.


                                      PARTIES
      2. Ranell Grossman is an individual currently residing in Wrangell, Alaska.

She is a citizen of the United States and a resident of the state of Alaska. Plaintiff is

a person entitled to protection pursuant to the provisions of the Civil Rights Act of

1964 42 U.S.C. 2000e et seq.


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      3. During all relevant times, Plaintiff was an employee of Defendant.


      4. Defendant is a business with an air ambulance company located in North

Port, Sarasota County, Florida and headquartered in Colorado.


      5. At all times relevant to the allegations in this Complaint, Defendant

operated from a facility in North Port, Sarasota County, Florida.


      6. The facility is named Air Methods Corp.


      7. At all relevant times, Defendant employed more than 15 people. Defendant

was the employer of Plaintiff at all times relevant to this action.


                                  JURISDICTION
      8. This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331 as

this matter involves a federal question based upon the 29 U.S.C. §§ 621 et seq. This

Honorable Court has jurisdiction over this matter as this case arises under the equal

protection clause of the Fourteenth Amendment to the United States Constitution

and poses a question of federal law.


      9. The Tampa District Court is the proper venue for this action pursuant to 28

U.S.C. §1391 (b)(l) and (b)(2) because this is the District and Division in which a

substantial part of the events or omissions giving rise to the claims occurred.


                                       VENUE
      10. The unlawful employment practices alleged below were within the state of

Florida, in Sarasota. Accordingly, venue lies in the United States District Court for




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the Middle District of Florida, Tampa Division under 29 U.S.C. § 1391(b) and 28

U.S.C. § 1391(a).


              EXHAUSTION OF ADMINISTRATIVE REMEDIES


      11. Plaintiff timely filed this action, as was her right, after receiving a written

notice of right to sue from the U.S. Equal Employment Opportunity Commission,

Tampa office. A copy of said decision is attached hereto and marked Exhibit "A." Said

Exhibit "A" is incorporated herein as though set forth in full. Plaintiff regrets said

EEOC has failed to effect voluntary compliance with the requirements of the Civil

Rights Act of 1964, as amended, 42 U.S.C. § 20003 et seq. on the part of said

Defendant. A charge of discrimination day 181 post filing is treated by the courts as

having a reasonable cause finding, even if Florida Commission on Human Relations

eventually finds no cause (See § 760.11(8), Florida Statutes). “A claimant should not

be penalized for attempting to allow a government agency to do its job.” Joshua v.

City of Gainesville, 768 So. 2d. 432 (Fla. 2000).


                             STATEMENT OF FACTS
      12. Plaintiff Ranell K. Grossman worked in North Port, Sarasota County, FL

for Defendant as an air flight nurse for four and one-half years.


      13.    She has 15 years of experience as a registered nurse.


      14.    A high-profile incident occurred where a young woman stabbed a man

who was attacking her.


      15.    The attacker ended up being flown aboard Ms. Grossman’s aircraft.

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         16.   He expired after reaching the hospital via a flight on said aircraft.


         17.   As part of the standard post-event training protocol, Ms. Grossman

asked about training, what happened and to review the reports relating to the

incident.


         18.   She was fired. Her previous performance reviews were good.


         19.   She had no prior warnings as was given no explanation.


         20.   She was discriminated against in violation of the Civil Rights Act of

1964, based on her gender.


         21.   No reason was ever given by her employer for its behavior.


         22.   As flight nurse she had the right to see the patient code summary, etc.


         23.   Her male flight nurse partner was not even disciplined for this episode

while Ms. Grossman was put on administrative leave and then terminated shortly

after.


         24.   Nurses are equally responsible for their work in a manner similar to

doctors.


         25.   It appears the doctor in question from this patient has changed his

guidelines for air flight crews since this incident. A problematic pattern in the

guidelines with several patients was discovered.


         26.   Ms. Grossman’s partner was not told they did anything wrong or outside

the guidelines in a conference after her termination.

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       27.      At the time she was fired, Ms. Grossman had just been approved for a

promotion to relocate with the company in the Western U.S.


       28.      She was discriminated against in violation of the Civil Rights Act of

1964, based on her gender.


       29.      No reason was ever given by her employer for its behavior or reasons

given were a pretext.


       30.      She was told there was a customer complaint (later found to be invalid).


       31.      Ms. Grossman was the top employee in rsq911 compliments in the Bay

Flight fleet.


       32.      Retaliation occurred after she inquired about the incident.


       33.      Ms. Grossman has received strong letters of recommendation from at

least six colleagues in the field, several male.


                STATEMENT OF CLAIMS COUNT I: RETALIATION


       34. Plaintiff realleges and incorporates in this Count I Paragraphs 12 through

33.


       35. This is a cause of action for retaliation under the Civil Rights Act of 1964

42 U.S.C. 2000e et seq.


       36. Plaintiff engaged in statutorily protected activities as part of the standard

post-event training protocol, Ms. Grossman asked about training, what happened and

to review the reports relating to the incident.

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      37. She suffered adverse employment actions.


      38. The causal link between these events is demonstrated, at least in part, by

the close proximity in time between events.


      39. But-for the discrimination and retaliation by the Defendant’s agents

toward Plaintiff, she would be employed by Defendant.


      40. Defendant's refusal to accommodate Plaintiff to her proper position was in

retaliation against Plaintiff.


             STATEMENT OF CLAIMS COUNT II: RETALIATION


      41. Plaintiff realleges and incorporates in this Count I Paragraphs 12 through

33.


      42. This is a cause of action for retaliation in violation of the laws of the state

of Florida, Florida Civil Rights Act, Florida Statutes § 760 et seq., justifying an

award, inter alia, of back pay, front pay, interest benefits, special damages,

compensatory and punitive damages against said Defendant.


      43. Plaintiff engaged in statutorily protected activities as part of the standard

post-event training protocol, Ms. Grossman asked about training, what happened and

to review the reports relating to the incident.


      44. She suffered adverse employment actions.


      45. The causal link between these events is demonstrated, at least in part, by

the close proximity in time between events.

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      46. But-for the discrimination and retaliation by the Defendant’s agents

toward Plaintiff, she would be employed by Defendant.


      47. Defendant's refusal to accommodate Plaintiff to her proper position was in

retaliation against Plaintiff.


                       COUNT III: SEX DISCRIMINATION
      48.    Plaintiff restates, realleges, revers and hereby incorporates by reference

any and all allegations of paragraphs 12 through 33, inclusive, herein.

      49.    Plaintiff alleges that Defendant unlawfully and discriminatorily

constructively terminated Plaintiff’s employment on account of her sex, female, in

violation of the laws of the state of Florida, Florida Civil Rights Act, Florida Statutes

§ 760 et seq., justifying an award, inter alia, of back pay, front pay, interest benefits,

special damages, compensatory and punitive damages against said Defendant.

                         COUNT IV: SEX DISCRIMINATION


      50.    Plaintiff reavers and incorporates by reference all of the allegations set

forth in paragraphs 12 through 33 herein.

      51.    Plaintiff’s sex (female) was a determining factor in Defendant’s decision

to constructively terminate her.

      52.    Defendant knowingly and willfully discriminated against Plaintiff on

the basis of her sex (female) in violation of the Civil Rights Act of 1964. In addition,

she avers that Defendant’s unlawful and discriminatory constructive termination of

her employment on account of her gender violates the provisions of the Civil Rights


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Act of 1964, as amended, 42 U.S.C. § 20003 et seq., justifying an award, inter alia, of

backpay, front pay, benefits and compensatory and liquidated damages against

Defendant.

                                     DAMAGES


      53. As a direct and proximate consequence of Defendant's unlawful and

discriminatory employment policies and practices, Plaintiff has suffered a loss of

income, including, but not limited to, past and future wages, benefits, expenses,

payment for insurance and various other expenses, pain and suffering, compensatory

damages and punitive damages, all to be specified at trial.


                              INJUNCTIVE RELIEF
      54. Plaintiff restates, realleges, reavers and hereby incorporates by reference

any and all allegations of paragraphs 12 through 33, inclusive, herein. In addition,

Plaintiff alleges that Defendant' s discriminatory actions herein must be enjoined by

this Court in order to force Defendant to comply with law. It is suggested that the

injunction be specific in enjoining Defendant and its employees, agents and

representatives.


                              PRAYER FOR RELIEF
      WHEREFORE Plaintiff respectfully prays for judgment against Defendant as

follows:


      For a money judgment representing compensatory damages, including, lost

wages, past and future wages, all other sums of money, including any and all benefits



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and any other employment benefits together with interest on said amounts, in

addition to tort damages;


      For a money judgment representing punitive damages for Defendant' s willful

violations of law; liquidated (compensatory) damages pursuant to 29 U.S.C. §626(b);


      For a money judgment representing prejudgment interest, if applicable;


      Reinstatement and restoration of benefits upon conditions that Plaintiff and

supervisors be enjoined to comply with the law.


      That this Court retain jurisdiction over this action until Defendant has fully

complied with the orders of this Court, and that this Court require defendant to file

any and all reports necessary and to supervise compliance with law that any and all

matters related hereto be done in conformance with the applicable provisions;


      For lost monies and damages pertaining to out-of-pocket expenses, especially

related to, but not limited to, medical expenses, and loss of retirement benefits;


      For suit costs, including an award for reasonable attorney's fees, expert fees;

and for such other and further relief as may be just and proper.


                                  JURY DEMAND
      Plaintiff herein demands a trial by jury of all issues in this Action pursuant to

Rule 38(b) of the Federal Rules of Civil Procedure.


Dated this 26th day of September, 2019.




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